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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


GLORIA BRUNSON, KEVIN                       Case No. 1:19-cv-03970-AT
DAHLBERG, JAMAL DOUGLAS,
and EARL YOUNG, individually and
on behalf of all others similarly
situated,

                    Plaintiffs,

      v.
THE HOME DEPOT, INC., Delaware
Corporation, and JOHN DOE,

                    Defendants.

               NOTICE OF DISMISSAL WITHOUT PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), please take notice

that Plaintiffs Gloria Brunson, Kevin Dahlberg, Jamal Douglas, and Earl Young,

individually and on behalf of all others similarly situated (“Plaintiffs”), hereby file

this Notice of Dismissal without Prejudice and dismiss this action without prejudice.

      This 22nd day of October, 2019.




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                                     GLORIA BRUNSON, KEVIN
                                     DAHLBERG, JAMAL DOUGLAS, and
                                     EARL YOUNG, individually and on
                                     behalf of all others similarly situated,

                                     s/ David C. Sawyer
                                            One of Plaintiffs’ Attorneys

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                            Counsel for Plaintiffs and the Putative
                            Class




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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


GLORIA BRUNSON, KEVIN                     Case No. 1:19-cv-03970-AT
DAHLBERG, JAMAL DOUGLAS,
and EARL YOUNG, individually and
on behalf of all others similarly
situated,

                    Plaintiffs,
      v.
THE HOME DEPOT, INC., Delaware
Corporation, and JOHN DOE,

                    Defendants.

              LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.

Date: October 22, 2019                   GLORIA BRUNSON, KEVIN
                                         DAHLBERG, JAMAL DOUGLAS, and
                                         EARL YOUNG, individually and on
                                         behalf of all others similarly situated,

                                         s/ David C. Sawyer
                                                One of Plaintiffs’ Attorneys

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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


GLORIA BRUNSON, KEVIN                        Case No. 1:19-cv-03970-AT
DAHLBERG, JAMAL DOUGLAS,
and EARL YOUNG, individually and
on behalf of all others similarly
situated,

                    Plaintiffs,

      v.
THE HOME DEPOT, INC., Delaware
Corporation, and JOHN DOE,

                    Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on October 22, 2019, copies of PLAINTIFFS’ NOTICE

OF DISMISSAL WITHOUT PREJUDICE were electronically served with the

Clerk of Court using the CM/ECF system which will automatically send notification

of such filing to the following attorneys of record:

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                                   Morgan Bridgman
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Date: October 22, 2019              GLORIA BRUNSON, KEVIN
                                    DAHLBERG, JAMAL DOUGLAS, and
                                    EARL YOUNG, individually and on
                                    behalf of all others similarly situated,

                                    s/ David C. Sawyer
                                           One of Plaintiffs’ Attorneys

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                            Counsel for Plaintiffs and the Putative
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